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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                                   CRIMINAL ACTION NO. 3:09CR112-P-S

QUAWI GATES,                                                                    DEFENDANT.

                                              ORDER

        This matter comes before the court upon Defendant Quawi Gates’s May 7, 2010 pro se

motion seeking assignment of new counsel [98]. After due consideration of the motion, the court

finds as follows, to-wit:

        The motion for new counsel is not well-taken and should be denied. The remainder of the

defendant’s motion would be more properly addressed by and through counsel. As long as the

defendant is represented by counsel, he is not to contact the court through filings except through his

counsel since the defendant is not entitled to hybrid or dual representation.

        IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Quawi Gates’s May

7, 2010 pro se motion seeking assignment of new counsel [98] is DENIED.

        SO ORDERED this the 19th day of May, A.D., 2010.


                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
